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                               UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF IDAHO

In Re:                                 )              CHAPTER 13
                                       )              Case No. 21-40646-JMM
LISA MARIE PHILLIPS                    )
                                       )              MINUTES OF 341(a) MEETING
                                       )              OF CREDITORS
_______________________________________)

DATE OF 341(A) MEETING: 01/03/2022

LOCATION OF MEETING: Telephonic

DATE CASE FILED: 11/09/2021

RECORDING TRACK NUMBER: 13


         1. Debtor(s) were sworn and examined.

         2. Debtor(s)’ attorney was present.

         3. Debtor(s)’ identification was verified.

         4. Debtor(s)’ social security number was verified.

         5. The following creditors appeared at the meeting: None.

         6. The meeting was adjourned.


         DATED:          January 3, 2022
                                                          /s/ Kathleen McCallister       ____
                                                         Kathleen McCallister, Trustee
